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                             UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                                  Charlottesville Division


    ELIZABETH SINES, SETH WISPELWEY,
    MARISSA BLAIR, APRIL MUNIZ, MARCUS
    MARTIN, NATALIE ROMERO, CHELSEA
    ALVARADO, THOMAS BAKER and JOHN
    DOE,

                                             Plaintiffs,
    v.

    JASON KESSLER, RICHARD SPENCER,
    CHRISTOPHER CANTWELL, JAMES
                                                           Civil Action No. 3: 17-cv-00072-NKM
    ALEX FIELDS, JR., VANGUARD
    AMERICA, ANDREW ANGLIN,
    MOONBASE HOLDINGS, LLC, ROBERT
    “AZZMADOR” RAY, NATHAN DAMIGO,
    ELLIOT KLINE a/k/a/ ELI MOSELY,
    IDENTITY EVROPA, MATTHEW
    HEIMBACH, MATTHEW PARROTT a/k/a
    DAVID MATTHEW PARROTT,
    TRADITIONALIST WORKER PARTY,
    MICHAEL HILL, MICHAEL TUBBS, LEAGUE
    OF THE SOUTH, JEFF SCHOEP, NATIONAL
    SOCIALIST MOVEMENT, NATIONALIST
    FRONT, AUGUSTUS SOL INVICTUS,
    FRATERNAL ORDER OF THE ALT-
    KNIGHTS, LOYAL WHITE KNIGHTS OF THE
    KU KLUX KLAN, and EAST COAST
    KNIGHTS OF THE KU KLUX KLAN a/k/a
    EAST COAST KNIGHTS OF THE TRUE
    INVISIBLE EMPIRE,

                                           Defendants.


            MOTION FOR PRO HAC VICE ADMISSION OF JONATHAN R. KAY

         Pursuant to Rule 6(d) of the Local Rules for the United States District Court for the

   Western District of Virginia, I, Robert T. Cahill, an attorney admitted to practice in this Court,
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   and counsel of record in the instant proceeding, hereby moves the Court for the admission of

   Jonathan R. Kay, Esq. to appear pro hac vice on behalf of the Plaintiffs in the above captioned

   case and in support thereof state as follows:

            1.     Mr. Kay is an attorney with Kaplan Hecker & Fink LLP, 350 Fifth Avenue,

   Suite 7110, New York, NY 10118, Tel: (212) 763-0883, Email: jkay@kaplanhecker.com.

            2.     Mr. Kay is qualified and licensed to practice law and is a bar member in good

   standing in the State of New York (Registration No. 5486188 – Date of Admission: Dec. 22,

   2016). He is also a bar member in good standing with the United States District Court for the

   Southern District of New York (Date of Admission: Nov. 14, 2018), the United States District

   Court for the Northern District of New York (Date of Admission: Nov. 30, 2018), and the

   United States District Court for the Eastern District of New York (Date of Admission: Dec. 14,

   2018).

            3.     Mr. Kay agrees to submit to and comply with the appropriate rules of procedure

   as required in the case for which he is applying to appear pro hac vice as well as the rules and

   standards of professional conduct applicable to all lawyers admitted to practice before this

   Court.

            WHEREFORE, for the reasons stated above, it is requested that this Court grant this

   motion and permit Jonathan R. Kay, Esq. to appear pro hac vice on behalf of Plaintiffs in the

   above captioned case, and to appear at hearings or trials in the absence of an associated member

   of the bar of this Court.




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           Dated: April 8, 2020       Respectfully submitted,

                                      /s/ Robert T. Cahill
                                      Robert T. Cahill (VSB 38562)
                                      COOLEY LLP
                                      11951 Freedom Drive, 14th Floor
                                      Reston, VA 20190-5656
                                      Telephone: (703) 456-8000
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                                      Counsel for Plaintiffs




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                                      CERTIFICATE OF SERVICE

       I hereby certify that on April 8, 2020, I filed the foregoing with the Clerk of Court through the
  CM/ECF system, which will send a notice of electronic filing to:

   Justin Saunders Gravatt                                 James E. Kolenich
   David L. Hauck                                          Kolenich Law Office
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   Counsel for Defendant James A. Fields, Jr.
                                                           Counsel for Defendants Matthew Parrott,
   Bryan Jones                                             Traditionalist Worker Party, Jason Kessler,
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                                                           John A. DiNucci
   Counsel for Defendants Michael Hill,                    Law Office of John A. DiNucci
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   The ReBrook Law Office
   6013 Clerkenwell Court                                  Counsel for Defendant Richard Spencer
   Burke, VA 22015
   edward@rebrooklaw.com

   Counsel for Defendants National Socialist
   Movement, Nationalist Front and Jeff Schoep


           I further hereby certify that on April 8. 2020, I also served the following non-ECF participants,
  via electronic mail, as follows:

   Elliott Kline a/k/a Eli Mosley                          Vanguard America
   eli.f.mosley@gmail.com                                  c/o Dillon Hopper
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   Matthew Heimbach                                        Robert Azzmador Ray
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